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                               United States District Court
                                   District of Utah
D. Mark Jones                                                                            Anne S. Morgan
Clerk of Court                                                                         Chief Deputy Clerk



                                         October 13, 2021

Paul J. Reilly
David Tobin
Susan Kennedy
Baker Botts L.L.P.
2001 Ross Avenue, Suite 900
Dallas, TX 75201-2980
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Re:     Cricut v. Enough For Everyone et al
        2:21-cv-00601-DBB
        Counsel for: Plaintiff

Dear Counsel:

       The above referenced case has been opened in the District of Utah. You must be admitted
pro hac vice in order to appear in this court.

        To move for pro hac vice admission, you must be associated with local counsel. Local
counsel must file the motion for admission pro hac vice, with the application and proposed order
and pay the admission fee on your behalf. You will not be added to the case to receive notice
until the order of the court has been granted and docketed.

        Immediately after local counsel files the motion, you must register for electronic filing
and noticing. Registration can be done online at www.pacer.gov. Detailed instructions for
registering are available on the court’s website.

       Detailed instructions, the form motion for pro hac vice admission, application form, and a
proposed order are available on the court’s website, https://www.utd.uscourts.gov/attorney-
admissions.

        You may contact the attorney registration clerk at 801-524-6100 with any questions.


Sincerely,
D. Mark Jones, Clerk


By:
Deputy Clerk Noemi Torres
 Orrin G. Hatch United States Courthouse • 351 S. West Temple, Rm 1.100, Salt Lake City, UT
                       84101 • (801) 524-6100 • www.utd.uscourts.gov
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